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                            UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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11     CAITLIN McLEAN,
                                                Case No. 2:20-mc-00323-DMG (GJSx)
12                  Petitioner,
13            v.                                ORDER DISMISSING ACTION
                                                WITHOUT PREJUDICE
14     UNITED STATES OF AMERICA,
15                  Respondent.
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18         On November 30, 2020, Petitioner filed a petition seeking to quash a
19   summons issued by the Internal Revenue Service (“IRS”) and directed to a third
20   party bank [Dkt. 1, “Petition”]. On December 21, 2020, Petitioner filed an
21   amendment to the Petition [Dkt. 3]. The amendment to the Petition indicated that
22   the original summons had been withdrawn and that a second summons had issued.
23   Both the original Petition and its amendment contained a proof of service indicating
24   that the documents had been mailed to the IRS Officer who issued the summons, the
25   United States Attorney in Washington D.C., and the United States Attorney in the
26   Central District of California.
27         On December 29, 2020, Hon. Gail J. Standish, United States Magistrate
28   Judge, issued an Order advising Petitioner that neither document had been served on
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 1   Respondent in compliance with Rule 4(i) of the Federal Rules of Civil Procedure
 2   [Dkt. 4, “December Order”]. The December Order advised Petitioner why service
 3   of process had not been effected properly and directed her to accomplish service of
 4   process and to set a hearing on the amended Petition for a date not less than 28 days
 5   after service of the Petition as amended. In addition, the December Order directed
 6   Petitioner to file a notice with the Court within 21 days of service of process. The
 7   December Order cautioned Petitioner that failure to file such a notice “will result in
 8   this action being dismissed for failure to obey a court order.”
 9         The period for service of process in this case expired on March 2, 2021. See
10   Fed. R. Civ. P. 4(m). It is now nearly a year since the December Order issued, and
11   Petitioner has not filed anything with the Court, nor has she requested additional
12   time to do so. There is no evidence that Petitioner has attempted to comply with the
13   December Order by effecting proper service of process, nor has she set the hearing
14   required by the Order. The Court, therefore, assumes that Petitioner no longer
15   wishes to pursue this case.
16         Rule 41(b) of the Federal Rules of Civil Procedure grants federal district
17   courts the authority to sua sponte dismiss actions for failure to prosecute. Link v.
18   Wabash R. Co., 370 U.S. 626, 629-30 (1962). In determining whether dismissal for
19   lack of prosecution is proper, a court must weigh several factors, including: (1) the
20   public’s interest in expeditious resolution of litigation; (2) the court’s need to
21   manage its docket; (3) the risk of prejudice to defendants; (4) the availability of less
22   drastic sanctions; and (5) the public policy favoring the disposition of cases on their
23   merits. In re Phenylpropanolamine (PPA) Prods. Liab. Litig., 460 F.3d 1217, 1226
24   (9th Cir. 2006).
25         In this case, the fifth factor, the general policy favoring resolution of cases on
26   the merits, cannot be said to favor retention of this action on the Court’s docket.
27   Having reviewed the Petition, as amended, it appears to the Court that Petitioner’s
28   stated arguments for quashing the IRS summons are unavailing for the reasons
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 1   articulated in Pontius v. Internal Revenue Service, No. 1:13-mc-00056-AWI-SAB,
 2   2014 WL 641085 (E.D. Cal. Feb. 18, 2014) (rejecting the same arguments that
 3   Petitioner makes here), adopted by 2014 WL 2153939 (April 4, 2014),
 4   reconsideration denied by 2014 WL 2153942 (April 23, 2014). The IRS possessed
 5   the authority to issue the summons at issue pursuant to 26 U.S.C. § 7602;
 6   Petitioner’s arguments regarding 26 U.S.C. § 7608 are without merit.
 7         Petitioner’s noncompliance with the December Order and her failure to effect
 8   service of process necessarily implicate both the public interest in the expeditious
 9   resolution of litigation and the Court’s need to manage its docket efficiently, the first
10   and second factors. See In re PPA Prods. Liab. Litig., 460 F.3d at 1227; see also
11   Yourish v. California Amplifier, 191 F.3d 983, 990-91 (9th Cir. 1999).
12         The third factor – possible prejudice to the opposing party – is, at best, neutral
13   to Petitioner. While there is no evidence that Petitioner’s actions have resulted in
14   any actual prejudice to Respondent as yet, “[t]he law … presumes prejudice from
15   unreasonable delay.” In re PPA Prods. Liab. Litig., 460 F.3d at 1227.
16         In addition, the fourth factor favors dismissal. As recounted above, through
17   the December Order, Petitioner was cautioned expressly that her failure to comply
18   with the Order would result in this action being dismissed. Having been so
19   cautioned, yet having failed to take the action needed to allow this case to survive,
20   Petitioner appears to lack any interest in pursuing this case anymore.
21         A balancing of these factors thus leads to the conclusion that dismissal
22   without prejudice, pursuant to Rule 41(b), is warranted. See Ferdik v. Bonzelet, 963
23   F.2d 1258, 1263 (9th Cir. 1992) (dismissal appropriate when strongly supported by
24   three factors); Malone v. United States Postal Serv., 833 F.2d 128, 133 n.2 (9th Cir.
25   1987) (dismissal appropriate when supported by four factors).
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